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                                                              5
                                                                    Attorneys for Melanie Hill and Hardeep Sull,
                                                              6     Plaintiff’s Counsel
                                                              7                                  UNITED STATES DISTRICT COURT
                                                              8                                            DISTRICT OF NEVADA
                                                              9     SANDAR M. MESA-PEREZ, an individual,                CASE NO. 2:19-cv-373-APG-NJK
                                                              10                              Plaintiff,
                                                                                                                        STIPULATION AND (PROPOSED)
                                                              11    v.                                                  ORDER TO EXTEND TIME TO MEET
                                                                                                                        AND CONFER REGARDING, AND IF
                                                              12    SBARRO LLC dba SBARRO PIZZA, aforeign               NECESSARY BRIEF, THE AMOUNT OF
                                                                    limited liability company; SBARRO, INC. dba         SANCTIONS AWARD (DOCKET NO.
                      9900 Covington Cross Drive, Suite 120

                      (702) 382-1500 FAX: (702) 382-1512




                                                              13    SBARRO PIZZA, a foreign corporation;                177)
Lipson Neilson P.C.




                                                                    ZACHARY CEBALLES, and individual;
                            Las Vegas, Nevada 89144




                                                              14    EFRAIN HERNANDEZ, an individual; JESUS
                                                                    ALATORRE, an individual; DANA DORADO,
                                                              15    an individual,
                                                              16                              Defendants.
                                                              17
                                                              18           The parties herein, by and through their attorneys of record, hereby stipulate and

                                                              19    agree to the following:

                                                              20           1.     On September 30, 2020, the Court issued an Order (1) Granting Dana

                                                              21    Dorado’s Motion for Sanctions Under Rule 11 and (2) Denying her Motion for Sanctions

                                                              22    Under 28 U.S.C. §1927 and the Court’s Inherent Powers [Doc 177].

                                                              23           2.    In the Order, the Court directed that:

                                                              24                “The parties must confer about the amount of those fees and costs by
                                                                           October 28, 2020. If they agree with the amount, they shall file a stipulation. If no
                                                              25           agreement is made, Dorado may file a motion with supporting affidavits and
                                                                           appropriate documentation requesting reasonable attorneys’ fees and costs. That
                                                              26           motion shall be filed by November 13, 2020.” See Order p. 6:17-21.
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                                                              1            3.    The parties are in the process of conferring about the amount of the fees
                                                              2     and costs in accordance with the above Order but need an additional period of time to
                                                              3     complete the process.
                                                              4            4.    The parties therefore agree and stipulate to request an additional period of
                                                              5     thirty (30) days from October 28, 2020, up to and including November 30, 2020, to
                                                              6     permit further discussion as part of the meet and confer process and, if necessary, for
                                                              7     Ms. Dorado to file her motion for fees and costs. Any opposition shall be filed 25 days
                                                              8     after the filing of Ms. Dorado’s motion for fees and costs.
                                                              9            5.    This stipulation is submitted based upon good cause and is not made for
                                                              10    the purpose of delay.
                                                              11    Dated this 6th day of November, 2020           Dated 6th day of November, 2020
                                                              12    GREENBERG TRAURIG, LLP                         LIPSON NEILSON P.C.
                      9900 Covington Cross Drive, Suite 120

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                                                              13
                                                                    /s/ Jason K. Hicks                             /s/ Joseph P. Garin
Lipson Neilson P.C.
                            Las Vegas, Nevada 89144




                                                              14    ________________________________               ________________________________
                                                                    Mark E. Ferrario, Esq.                         Joseph P. Garin, Esq.
                                                              15    Jason K. Hicks, Esq.                           9900 Covington Cross Drive, Suite 120
                                                                    10845 Griffith Peak Drive, Suite 600           Las Vegas, Nevada 89144
                                                              16    Las Vegas, Nevada 89135                        Attorneys for Melanie Hill
                                                                    Attorneys for Defendant Dana Dorado            and Hardeep Sull,
                                                              17                                                   Plaintiff’s Counsel
                                                              18
                                                              19
                                                                                                       ORDER
                                                              20
                                                              21           IT IS SO ORDERED.

                                                              22                   November 9, 2020
                                                                           Dated: _______________

                                                              23                                ___________________________________________
                                                                                                UNITED STATES DISTRICT COURT JUDGE
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